     Case: 1:21-cv-03597 Document #: 43 Filed: 04/04/22 Page 1 of 1 PageID #:179

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Charles Hines
                                  Plaintiff,
v.                                                     Case No.: 1:21−cv−03597
                                                       Honorable Jorge L. Alonso
Proctor.io Incorporated
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 4, 2022:


        MINUTE entry before the Honorable Sunil R. Harjani: The parties' join motion for
leave to depose witness after close of discovery (doc. #[42]) is granted. The Court gives
leave to conduct defendant Proctorio Incorporated and its CEO Mike Olsen's deposition
on April 21, 2022. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
